   Case 19-11998-mdc          Doc 69      Filed 11/09/20 Entered 11/09/20 09:34:51               Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT PENNSYLVANIA DISTRICT

IN RE: Kimberly Ann Glaser aka Kimberly A. Glaser
aka Kimberly Glaser aka Kimberly A. Lamanna aka
Kimberly Ann Montello                                                               CHAPTER 13
                             Debtor(s)

Wells Fargo Bank, N. A. as Trustee for the Carrington
Mortgage Loan Trust, Series 2007-FRE1, Asset-Backed
Pass-Through Certificates, its successors and/or assigns                        NO. 19-11998 MDC
                                 Movant
               vs.

Kimberly Ann Glaser aka Kimberly A. Glaser aka
Kimberly Glaser aka Kimberly A. Lamanna aka
Kimberly Ann Montello
                              Debtor(s)

William C. Miller Esq.
                                Trustee


                                       PRAECIPE TO WITHDRAW

TO THE CLERK OF THE BANKRUPTCY COURT:
   Kindly withdraw the Praecipe to Re-list Motion for Relief of Wells Fargo Bank, N. A. as Trustee for
the Carrington Mortgage Loan Trust, Series 2007-FRE1, Asset-Backed Pass-Through Certificates,
which was filed with the Court on or about September 2, 2020 and September 3, 2020 (Documents 60,
61, and 62).
                                                      Respectfully submitted,

                                                      /s/Rebecca A. Solarz, Esq._
                                                      Rebecca A. Solarz, Esq.
                                                      KML Law Group, P.C.
                                                      BNY Mellon Independence Center
                                                      701 Market Street, Suite 5000
                                                      Philadelphia, PA 19106

November 9, 2020
